                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

WARREN RILEY                             *         CIVIL ACTION
                                         *
VERSUS                                   *
                                         *         NUMBER:               18-14138
LATOYA CANTRELL, individually            *
and in her official capacity as Mayor of *
the City of New Orleans and              *         SECTION:              A
THE CITY OF NEW ORLEANS                  *
                                         *         MAGISTRATE:           1
*************************

                                          ORDER

      Considering the Notice of Dismissal Without Prejudice filed herein by the Plaintiff:

      IT IS HEREBY ORDERED that the above captioned matter be and is hereby dismissed

WITHOUT PREJUDICE pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

      New Orleans, Louisiana this 17th day of         April          , 2019.




                               HON. JAY C. ZAINEY
                          UNITED STATES DISTRICT JUDGE
